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                                   City and County of San Francisco
                                POLICE DEPARTMENT
                               MEDIA RELATIONS UNIT
                                      1245 3RD Street, 6TH Floor
                                   San Francisco, California 94158



                                  NEWS RELEASE


                                                                                         March 25, 2019
                                                                                                19-031

            San Francisco Police Make Arrests in Saturday Night
                       Fillmore Shooting Homicide

On March 23, 2019 at approximately 8:40PM, San Francisco Police responded to the
1300 block of Fillmore Street regarding a shooting.

Upon arrival, officers located four persons suffering from apparent gunshot wounds.
San Francisco Fire Department personnel responded to the scene and transported
three adult victims. The fourth victim, Mister Dee C. Simmons, a 25 year-old male was
pronounced dead at the scene. Of those transported by ambulance, a 27 year-old male
remains listed in life threatening status. A 19 year-old male, resident of Westminster
California and a 51 year-old male, San Francisco resident are listed in non-life
threatening condition.

Two additional victims, a 51 year-old female, Alameda resident and a 25 year-old male,
Concord resident (both with non-life threatening injuries) were transported to the
hospital by private automobiles.

An investigation determined that Simmons, 25 year-old Sean Harrison (who was
transported to the hospital by private auto) and Jamare Coats age 26, of San Francisco
(who drove Harrison to the hospital) were involved the shooting. Harrison and Coats
were later booked on homicide and firearms charges at San Francisco County Jail.
Due to pending identification matters, booking photos are not being released at this
time.

While arrests have been made, this remains an active and ongoing investigation by the
SFPD Homicide Detail. Anyone with information is asked to call the SFPD 24 hour tip
line at 1-415-575-4444 or Text a Tip to TIP411 and begin the text message with SFPD.
You may remain anonymous.

                                                ###


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                                                                                               SFPD 96 (11/15)
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Weekend “on call” SFPD PIO Statements Emailed to News Media Regarding
Fillmore Street Shooting Homicide
Initial Statement:

On March 23, 2019 at approximately 8:40PM, San Francisco Police responded to the 1300 block of
Fillmore Street regarding a shooting. Upon arrival officers located numerous persons suffering from
apparent gunshot wounds. San Francisco Fire Department assets responded and transported three adult
victims. One of those persons is listed in life threatening status.

One victim was pronounced deceased at the scene.

This is an active and ongoing investigation in the early stages. Anyone with information is asked to call
the SFPD 24 hour tip line at 1-415-575-4444 or Text a Tip to TIP411 and begin the text message with
SFPD. You may remain anonymous.

Updated Statement:

I received some additional information regarding last night's shooting homicide. This remains active and
ongoing investigation in the early stages. Anyone with information is asked to call the SFPD 24 hour tip
line at 1-415-575-4444 or Text a Tip to TIP411 and begin the message with SFPD. You may remain
anonymous.

The deceased is a 25 year-old male from San Francisco.

The patient in life threatening status is a 27 year-old male.

It has since been determined that two additional patients were transported in private vehicles.

The following patients are considered non-life threatening:

25 year-old male

19 year-old male

50 year-old male

50 year-old female
Deadly shooting puts Fillmore
                       Case Heritage Center in peril months
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   Supervisor Vallie Brown listens at a community meeting at the Fillmore Heritage Center on Wednesday, March 26,
   2019 following a shooting that occurred in front of the building in which one person died and five people were
   wounded on March 23. (Kevin N. Hume/S.F. Examiner)



   Deadly shooting puts Fillmore
   Heritage Center in peril
   months after reopening
   Gunfire outside funeral reception killed one person and injured five
   others Saturday night
   MICHAEL BARBA / Mar. 26, 2019 11:00 p.m. / THE CITY

   A deadly shooting that killed one and injured five others in the Fillmore has
   thrust the future of a newly revitalized community center into jeopardy.

   The Fillmore Heritage Center, which just months ago reopened in a long-vacant
   event space, has cancelled all events at least through the end of the month in
   response to the Saturday night shooting outside its doors.
1 of 4                                                                                                                       4/11/19, 4:03 PM
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   Supervisor Vallie Brown, who represents the area on the Board of Supervisors,
   addressed the news late Tuesday at a meeting she called at the center to urge
   the community to come together after the violence.


   “I can’t tell you right now what will happen,” Brown said. “Right now we’ve
   closed the center and we’re trying to figure out what the next steps are. But all
   the events at this point are canceled until The City can figure out what the steps
   are, and we have to go through the process.”


   Dozens of community members in attendance expressed outrage over the
   news and sadness over the shooting.


   The center has only been open since November under a six-month lease
   between The City and two nonprofits, the San Francisco Housing Development
   Corporation and New Community Leadership Foundation.


   Since then, it has hosted a range of events from music to comedy as well as
   various services for community members.


   Rico Hamilton, head of the NCLF, said the shooting had nothing to do with the
   Fillmore Heritage Center.


   “We have done everything we possibly can do to avoid violence,” Hamilton said
   at the meeting.


   Hamilton said he himself ran out of the center to try and help one of the men
   who was shot.


   While the shooting happened at the same time that the center was hosting a
   funeral reception for local businessman Ron Newt, who has been called a “drug
   kingpin,” Hamilton said that it was a “random incident.”

   “These doors can open tomorrow, these doors can open two weeks from now,”
   Hamilton said. “I just want you to know that we can’t control what happens out
   there on the corridor.”
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   But Charles Powell, president of the West Coast Entertainment Association,
   who said he founded the movement to reopen the building, pointed fingers at
   the reception as well as the police.


   “You know whose funeral was Saturday,” Powell said at the meeting. “You
   know who that man was… You know 1,000 people was coming down on the
   corridor… You should have had the police down here that day.”


   Brown said various arms of city government would have to assess whether the
   center could be run safely before events resumed, including the Entertainment
   Commission, Mayor’s Oﬃce and City Attorney’s Oﬃce.


   “This is a city building and so we are liable for anything that happens here or
   around it so it’s going through a lot of the process,” Brown said. “This isn’t a
   decision that I make on my own, a whole city family is going to have to make
   this decision on when this building opens, if it does, back up.”


   Rev. Amos Brown, the local leader of the NAACP, was among the many to call
   for the center to remain open.


   “It would not be a kind thing for anyone to make a knee-jerk conclusion and put
   a cloud over this building, a cloud over this African American community,”
   Brown said at the meeting.

   Yolanda Banks Reed, the mother of local celebrity boxer Karim Mayfield, who
   helped reopen the center, distanced the center from the shooting.


   “It happened outside, it didn’t happen inside,” Reed said. “Do not close this
   place, do not close this building down, do not shut the African American people
   down. Do not do this once again because the blame is not on us.”


   Vallie Brown and Rev. Amos Brown listened to hours of public comment
   alongside Deputy Chief Ann Mannix, Northern Station Captain Joseph Engler
   and Joaquin Torres of the Oﬃce of Economic and Workforce Development.

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   Police brass declined to release detailed information about the shooting, citing
   an open investigation and a pending decision from prosecutors on whether two
   men arrested in the case would be charged.


   But Engler said he has increased foot beats and the presence of motorcycle
   oﬃcers in the area.


   Mannix, a former captain of Northern Station, called on the community to work
   together with the police.


   “It’s our community,” Mannix said. “These are our kids who are getting shot,
   who are shooting each other. This shouldn’t be happening.”


   When police responded to the shooting, oﬃcers found four men suﬀering from
   gunshot wounds outside the center.


   Mister Dee Carnell Simmons III, 25, was pronounced dead at the scene while
   the others were taken to a hospital.


   Two other victims, a man and a woman, drove to the hospital. Of the five total
   victims, only a 27-year-old man suﬀered injuries considered life-threatening.


   Police made two arrests in the case.

   Jamare Coats, 26, and Sean Harrison, 25, were arrested after Coats drove
   Harrison to Zuckerberg San Francisco General Hospital.


   As of Tuesday evening, the duo remained in County Jail on suspicion of murder
   as well as firearm charges.


   Alex Bastian, a spokesperson for the District Attorney’s Oﬃce, said prosecutors
   had not yet decided whether to file charges against them.

   A charging decision is expected to be made by Wednesday morning.


   mbarba@sfexaminer.com
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   Jamare Coats (left center) and Sean Harrison (right) at their arraignment on Wednesday, March 27, 2019. (Ellie
   Doyen/Special to S.F. Examiner)



   Gun battle erupted at Fillmore
   Heritage Center during
   memorial for pimp,
   prosecutors say
   MICHAEL BARBA / LAURA WAXMANN / Mar. 27, 2019 7:30 p.m. / THE CITY

   The deadly shooting that prompted the indefinite closure of the beloved
   Fillmore Heritage Center was a “gun battle” that erupted during a funeral
   reception for a local pimp, prosecutors said Wednesday.


   Assistant District Attorney Michael Swart said the Saturday night shootout
   started with a confrontation between several men attending a memorial for Ron
   Newt, a storied San Francisco pimp and businessman.
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   The shooting killed 25-year-old Mister Dee Carnell Simmons III, injured five
   others and led to the cancellation of all events at the newly revitalized center in
   the near future to the outrage of community members.


   The center has tried to distance itself from the shooting, calling it a “random
   incident” along the Fillmore Street corridor.


   “We do not know the individuals involved with the shooting,” the New
   Community Leadership Foundation, one of the nonprofits behind the center,
   said in a statement. “The family who held the funeral reception said the
   individuals involved were not associated with the funeral reception.”


   However the new details in the case from prosecutors show that Simmons and
   two men arrested on suspicion of murder attended the funeral reception.


   Swart described the shootout in a motion seeking to detain the suspects in the
   case, Jamara Coats, 26, and Sean Harrison, 25, without bail.


   “It’s just a cruel and barbaric act,” Swart told reporters after a hearing for Coats
   and Harrison at the Hall of Justice. “These individuals — none of them — had
   any business having handguns in the first place.”


   The argument first broke out at around 8:30 between a group of people in the
   center including Simmons, Coats and Harrison. After Simmons revealed he had
   a gun, Coats, Harrison and an unnamed third man allegedly went to a car and
   returned with pistols.


   Simmons was on the sidewalk out front when the trio returned. Swart said
   security tried to stop them, but Simmons pulled out a gun.


   At that point Swart said the men started to shoot at each other. Simmons and
   Harrison first exchanged gunfire. Simmons was shot and fell to the ground, but
   continued to shoot. Coats then started to shoot at him.


   In the midst of the action, a 27-year-old innocent bystander was shot in the
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   back and paralyzed from the waist down as he tried to escape the shooting.
   Swart said he was injured in the direction that Simmons was shooting.


   The District Attorney’s Oﬃce declined to charge Coats and Harrision with
   murder or attempted murder in connection with the shooting despite their
   alleged involvement. The two men, however, will face firearms charges.


   “While at this time we have not charged these individuals with murder or the
   attempted murder,” Swart said. “From a moral standpoint these two individuals
   are responsible for the paralyzation of this 27-year-old man.”


   The shooting prompted the Fillmore Heritage Center to cancel all events
   through the end of the month. Community members fear that the newly
   restored space could close permanently as a result of the violence.


   Supervisor Vallie Brown said the center needed to be closed because the
   violence was a potential liability for The City, which owns the building.


   Brown said the center failed to inform city oﬃcials that it planned to host the
   funeral reception so that police units could be provided.


   Brown said the Entertainment Commission and the Police Department
   recommended that the center be temporarily shut down over the lack of a
   security plan for the funeral reception.


   “There was a complete disconnect,” Brown said. “There weren’t any police
   around and … the security wasn’t there.”


   David Stevenson, a police spokesperson, confirmed that police oﬃcers were
   not asked or hired to perform security at the funeral reception.


   Long promised to the community as part of an eﬀort to revitalize the Fillmore
   Street commercial corridor, the Fillmore Heritage Center was only recently
   reopened last November after a four-year vacancy.


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   The NCLF and the San Francisco Housing Development Corporation are
   operating the center as a site for housing and job training programs as well as
   an entertainment venue.


   The temporary lease is set to expire April 9, but the groups are seeking an
   extension. Should The City approve it, NCLF would aim to reopen in the Center
   in May.


   But Brown said that discussions around a lease extension have been put on
   hold until the improved security plan is presented.


   “We had six people shot… that is pretty terrible for a neighborhood that hasn’t
   had that kind of violence in a long time,” Brown said. “We all agreed that we
   needed to find out if there are any holes in the [center’s] security, and what was
   happening.”


   The NCLF said the center has held over 200 events in the last four months
   centered around “healing, culture and celebrating diversity.”


   NCLF said that it was prepared “out of an abundance of caution” to “voluntarily
   suspend operations,” but does not expect the center to be shut down
   permanently.

   The Entertainment Commission has recommended measures including the
   addition of video surveillance on Fillmore Street and the posting of additional
   security personnel outdoors, according to NCLF. The district’s police captain
   recommended ways to improve communications with police and the
   community.


   “What we found in meeting with them is that all parties were supportive of
   getting Fillmore Heritage Center operations back on track with added security
   provisions,” the group said in the statement.


   Built in 2007 with city funds and a $5.5 million HUD loan, the $80.5 million
   center was initially hailed as the centerpiece of a revitalization eﬀort for the
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   Fillmore Street corridor, historically the center of a large black community. In the
   years since then, however, it has come to serve as a symbol of blight in the
   neighborhood.


   Developer Michael Johnson operated Yoshi’s nightclub out of the center until
   the popular music venue declared bankruptcy in 2014. A restaurant in the
   space shuttered a year later, leaving the building vacant.


   Last August, the City Attorney’s Oﬃce filed a lawsuit against Johnson seeking
   to recover the federal loan.


   Brown said that she remains one of the center’s “biggest cheerleaders,” and is
   committed to securing city funding for a lease extension in this year’s budget
   cycle.


   Reflecting on the center’s operations prior to Saturday’s incident, Brown said
   that she has been happy with the programming, which has also been well
   received by the local community.


   “There have been some hiccups, but anytime you start something new there
   are hiccups and you have to adjust. I feel that happened here,” said Brown. “I
   would love to see this continue. I also have to make sure they will feel
   comfortable moving forward.”

   With no events scheduled for April, the understanding is that the group would
   take next month to “completely reorganize,” said Brown.


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